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                                             1                      UNITED STATES DISTRICT COURT
                                             2                     CENTRAL DISTRICT OF CALIFORNIA
                                             3 MAHBOBEH RAZMARA,                             Case No. 2:17-cv-04669-ODW-AGR
                                             4        Plaintiff,
                                             5        v.                                     [PROPOSED] ORDER GRANTING
                                                                                             XXXXXXXXXXXX
                                             6                                               JOINT STIPULATION OF
                                               ZIAI MEHRBANOO; KARINE                        DISMISSAL WITHOUT
                                             7 ASLANIAN; ERIC DELGADO;                       PREJUDICE OF DEFENDANTS
                                             8 BENJAMIN GRIFFARD; AGL                        DREAM TEAM REAL ESTATE
                                               BRENTWOOD INC.; JOHNHART                      CONSULTANTS INC. AND ERIC
                                             9 CORP A/K/A JOHNHART REAL                      DELGADO
                                            10 ESTATE; DREAM TEAM REAL
                                               ESTATE CONSULTANTS INC.; and
                                            11 BEST CORE GROUP INC. A/K/A
                                            12 PRIME PARTNERS REALTY,
Tel: (619) 810-4300  Fax: (619) 810-4301




                                            13
       600 W. Broadway, Suite 1500




                                                             Defendants.
        Hahn Loeser & Parks, LLP

          San Diego, CA 92101
            One America Plaza




                                            14
                                            15        IT IS HEREBY ORDERED, pursuant to the Stipulation of Plaintiff
                                            16 Mahbobeh Razmara (“Plaintiff”) and Defendants Dream Team Real Estate
                                            17 Consultants Inc. (“Dream Team”) and Eric Delgado (“Delgado”), that:
                                            18        1.     Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii), this action shall be, and
                                            19 hereby is, dismissed without prejudice as to Plaintiff’s individual claims and the
                                            20 claims of the absent members of the putative class against Dream Team and
                                            21 Delgado;
                                            22      2.       As the Court has not certified a class in this matter, the notice and
                                            23 approval requirements of Fed. R. Civ. P. 23(e) do not apply; and
                                            24       3.    Each party shall bear its own costs and attorneys’ fees incurred in this
                                            25 Action.
                                            26
                                            27 Dated:______________
                                                      October 25, 2017                ________________________________
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                                                                                                        ______________
                                            28                                        HON. OTIS. D. W
                                                                                                    WRIGHT,
                                                                                                     RIGHT, II
                                                                                      UNITED STATE
                                                                                             STATESES DISTRICT JUDGE
                                                                                         1                  2:17-cv-04669-ODW-AGR
                                                                                  [PROPOSED] ORDER
